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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

RAFAEL DIAZ,

        Plaintiff,

v.                                                           Civil Action No: 4:22-cv-1762

PNC BANK, NA, TRANSUNION LLC,
EQUIFAX INFORMATION SERVICES
LLC, and EXPERIAN INFORMATION
SOLUTIONS, INC

        Defendants.

            NOTICE OF SETTLEMENT AS TO DEFENDANT TRANSUNION

       Plaintiff Rafael Diaz, by and through undersigned counsel, hereby submits this Notice of

Settlement and states that Plaintiff and Defendant TransUnion, have reached a settlement of this

case and are presently drafting, finalizing, and executing the settlement and dismissal documents.

Plaintiff respectfully requests forty-five (45) days to complete the necessary settlement

paperwork and file the appropriate dismissal documents with the Court.



                                                Respectfully Submitted,


                                                /s/ Robert Leach
                                                Robert Leach
                                                TX Bar No. 24103582
                                                Jaffer & Associates PLLC
                                                5757 Alpha Rd, Suite 430
                                                Dallas, TX 75240
                                                Phone:      (214) 494-1871
                                                Fax:        (888) 530-3910
                                                Email:      attorneys@jaffer.law
                                                Attorney for Plaintiff




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                               CERTIFICATE OF SERVICE

       I hereby certify that on Monday, July 18, 2022, a copy of the foregoing was electronically

filed with the Clerk of the Court, United States District Court for the Eastern District of Texas

and served via CM/ECF upon on all parties of record or in a manner according to the rules.


                                                           /s/ Robert Leach
                                                           Robert Leach




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